               Case 3:25-mj-00175
ORP DET ORD (6/5/2020)
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                                     IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF OREGON
 UNITED STATES OF AMERICA,                                          Case No. 3:25-mj-00175

             v.

 JULIE WINTERS                                                      ORDER OF DETENTION AFTER HEARING (18
                                                                    USC § 3142(i))
☐
✔ On motion of the Government involving an alleged:
       ☐✔  risk to the safety of any other person or the community for cases involving crimes described in 18 USC § 3142(f)(1)
       ☐ serious risk defendant will flee;
       ☐ serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or
       juror or attempt to do so,
☐ Upon consideration by the court sua sponte involving a:
       ☐ serious risk defendant will flee;
       ☐ serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or
       juror or attempt to do so,

Having considered the nature and circumstances of the offense charged, the weight of evidence against the defendant, the history and
characteristics of the defendant, and the nature and seriousness of the danger to any person and to the community that would be posed
by the defendant's release, the court finds that:

☐ The offense charged creates a rebuttable presumption in 18 USC § 3142(e) that no combination of conditions will reasonably assure the
safety of the community.

☐ No condition or combination of conditions will reasonably assure the appearance of defendant as required due to:
   ☐ Foreign citizenship and/or illegal alien       ☐ In custody/serving sentence              ☐ Substance use/abuse
                                                                                               ☐ Unknown
   ☐ ICE Detainer                                   ☐ Outstanding warrant(s)
                                                                                               family/employment/community ties
   ☐ Deportation(s)                                 ☐ Prior failure(s) to appear               ☐ Unstable/no residence available
   ☐ Multiple or false identifiers                  ☐ Mental health issues                     ☐ Information unverified/unverifiable
   ☐ Aliases
   ☐ Prior criminal history, ☐ including drug/drug related offense, ☐ including alcohol/alcohol related offense
   ☐ Prior supervision failure(s), ☐ Including illicit drug use, ☐ including alcohol abuse
   ☐ Other: _____________________________________________
☐
✔ No condition or combination of conditions will reasonably assure the safety of other persons and the community due to:
   ☐✔  Nature of offense
   ☐ Arrest behavior                                                      ☐ Substance use/abuse
   ☐✔  Possession of weapon(s)                                            ☐ Mental health issues
   ☐✔  Violent behavior                                                   ☐ Alleged offense involves child pornography on the internet
   ☐ Prior criminal history, ☐including drug/drug related                 ☐ including alcohol/alcohol related offense
   offense,
   ☐ Prior supervision failure(s), ☐ Including illicit drug use,          ☐ including alcohol abuse
   ☐✔  Other: _____________________________________________
               Pending charge for assault on officer
☐ Other (writ/serving federal or state sentence): __________________________________________________________
☐ Defendant has not rebutted by sufficient evidence to the contrary the presumption provided in 18 USC § 3142(e).
☐ Defendant did not seek release, and therefore may request a detention review hearing without making the required showing to reopen a
  detention hearing under 18 U.S.C. § 3142(f).
THEREFORE, IT IS ORDERED that:
      1.      Defendant is detained prior to trial;
      2.      Defendant is committed to the custody of the Attorney General for confinement in a corrections facility separated, as
              far as practicable, from persons awaiting or serving sentences or being held in custody pending appeal;
      3.      Defendant shall be afforded a reasonable opportunity for private consultation with his counsel;
      4.      The superintendent of the corrections facility in which defendant is confined shall make the defendant available to the
              United States Marshal for the purpose of appearance in connection with any court proceeding.

               June 26, 2025
      DATED:_____________________________________________                     /s/ Youlee Yim You
                                                                          ________________________________________________
                                                                          United States Magistrate Judge

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